Defendant was charged by information with the crime of obtaining property by false pretenses. The jury returned a verdict finding him guilty and defendant has appealed from the judgment. The Attorney General has filed in this court a confession of error in which it is stated that upon due consideration of the record he is of the opinion that the evidence is insufficient to justify the conviction and the parties have agreed by stipulation filed in the court that the judgment may be reversed and the cause remanded to the lower court for new trial. *Page 312 
We have examined the record and are of the opinion that the evidence is manifestly insufficient to support the judgment. Because of the disposition of this appeal, we have not examined into the other numerous assignments of error.
The judgment is therefore reversed and the cause is remanded for new trial.
All the Judges concur, except WARREN, J., not sitting.